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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff/Respondent,                    )
                                          )
 vs.                                      )     NO. 2:09-cr-43
                                          )         2:13-cv-396
 JUSTIN PHILLIP CEPHUS,                   )
                                          )
 Defendant/Petitioner.                    )

                             OPINION AND ORDER
        This matter is before the Court on the: (1) “Motion for

 Reconsideration,” filed by Defendant, Justin Cephus, on March 3,

 2014   (DE   #530);   (2)   “Motion    for   Reconsideration,”         filed    by

 Defendant, Justin Cephus, on March 24, 2014 (DE #538); and (3)

 Motion of Clarification, filed by Defendant, Justin Cephus, on

 April 7, 2014 (DE #541).      For the following reasons, both motions

 for reconsideration (DE ## 530, 538) are DENIED. To the extent the

 Motion for Clarification (DE #541) requests a 90 day extension to

 file another memorandum in support of his section 2255 Petition, it

 is also DENIED.



 BACKGROUND

        Under section 2255, Justin Cephus had one year from the date

 on which “the judgment of conviction [became] final” in which to

 bring a post conviction motion.          28 U.S.C. § 2255(f)(1).               The
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 Supreme    Court   denied   Justin     Cephus’    petition     for   a     writ   of

 certiorari on November 5, 2012.               See Justin Cephus v. United

 States, Appeal No. 12-6626, 133 S. Ct. 588 (Mem) (Nov. 5, 2012).

 Thus, Justin Cephus had until November 5, 2013, to file his section

 2255.    Cephus did indeed file his Section 2255 motion on November

 5, 2013 (DE #494), and he also filed a motion in which he argued he

 needed additional time to file a memorandum of law in support of

 the grounds set forth in his Section 2255 Petition.                   (DE #495.)

 Cephus claimed he was just receiving all of his court documents he

 needed for his memorandum due to new rules on receiving legal

 documents in the BOP.        The Government objected, arguing Cephus

 should not be afforded the protection provided by 28 U.S.C. §

 2255(f)(2), without identifying the rule change, explaining when it

 took effect, explaining what documents he needed, and why they

 support his Section 2255 Petition.           (DE #497.)    In its order dated

 December 10, 2013, this Court noted that while the Government may

 technically be correct, because Cephus timely filed his 2255

 Motion, and filed his request for an extension of time to file his

 memorandum on the same day, in the best interests of justice, the

 Court granted the extension of time for Cephus to prepare his

 memorandum of law in support of his motion. (DE #506.)                      Cephus

 requested a 60-day extension, and this Court granted the request,

 making the deadline for his memorandum in support January 5, 2014.

         Cephus filed his memorandum in support of his section 2255


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 petition on January 13, 2014.            (DE #512.)         Then, in two motions

 dated January 21, 2014, and January 22, 2014 (DE ##516, 517),

 Cephus asked for leave to withdraw his memorandum of law and to

 replace it with a new memorandum, which he claimed he needed an

 additional    180    days   to    prepare.       Cephus     stated    he      was   just

 receiving Court documents, and that inmates are only permitted to

 review certain Court documents in the presence of their Unit Team

 Staff, which requires scheduling.                (DE #517.)        The Government

 opposed the request, noting that Cephus did not specify the

 document or groups of documents to which he just received access.

 (DE #523.)

       In an order dated February 18, 2014 (DE #525), this Court

 denied Cephus’ motion to withdraw and re-file his memorandum in

 support of his section 2255 petition within 6 months.                           Cephus

 currently moves to reconsider this Order (DE #525).                   In the order,

 this Court noted, among other things, that Cephus did not explain

 how suddenly having access to new documents will enable him to make

 or support an argument not previously raised or supported in his

 Court filings, or why he needed six more months to prepare another

 memorandum.     Additionally, the Court found requiring inmates to

 schedule an appointment to see certain materials would not alone

 rise to the level of a Constitutional or legal deprivation.

 Ultimately,    the    Court      did   not    believe     Cephus     satisfied      the

 equitable tolling requirements of § 2255(f)(2).                 The Court already


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 gave Cephus the benefit of the doubt and granted his requested 60-

 day extension of time in which to file his memorandum - it did not

 believe an additional six months to prepare a different memorandum

 was warranted.



 DISCUSSION

       "Motions for reconsideration serve a limited function:                          to

 correct   manifest   errors   of   law      or   fact     or     to   present     newly

 discovered evidence."      Keene Corp. v. Int'l Fid. Ins. Co., 561 F.

 Supp. 656, 665 (N.D. Ill. 1982).              A motion for reconsideration

 performs a valuable function where:

              [T]he Court has patently misunderstood a
              party, or has made a decision outside the
              adversarial issues presented to the Court by
              the parties, or has made an error not of
              reasoning but of apprehension.     A further
              basis for a motion to reconsider would be a
              controlling or significant change in the law
              or facts since the submission of the issue to
              the Court. Such problems rarely arise and the
              motion to reconsider should be equally rare.


 Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185,

 1191 (7th Cir. 1990) (quoting Above the Belt, Inc. v. Mel Bohannan

 Roofing, Inc., 99 F.R.D. 99, 101 (E.D. Va. 1983)).

       However, motions to reconsider "cannot in any case be employed

 as a vehicle to introduce new evidence that could have been adduced

 during the pendency of the [motion]."            Caisse Nationale De Credit

 Agricole v. CBI Indus., Inc., 90 F.3d 1264, 1269 (7th Cir. 1996).


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 In other words, the parties cannot introduce evidence previously

 available, but not used in the prior proceeding.                       See Roche

 Diagnostics Corp. v. Bayer Corp., 247 F. Supp. 2d 1065, 1068 (S.D.

 Ind. 2003).    Motions for reconsideration are also not vehicles for

 "rehashing previously rejected arguments or arguing matters that

 could have been heard during the pendency of the previous motion."

 Caisse, 90 F.3d at 1264 (citations omitted).

       Here, Cephus largely rehashes arguments he already made to the

 Court.1    First, he argues that this Court did not consider the

 facts submitted in his reply brief (DE #526, filed on February 18,

 2014, the same day as this Court’s order (DE #525).)                  This Court

 has specifically reviewed this reply memorandum, and it would not

 have changed the outcome of this Court’s refusal to allow Cephus to

 retract his section 2255 memorandum and file another one within 6

 months.2   In his reply memorandum, Cephus gives more detail about

 the USP Tuscon policy that required inmates to request permission

 and to schedule time to review documents, for example the P.S.I.

       1
       The first motion for reconsideration asks the Court to
 reconsider “and/or notice of appeal.” (DE #530, p. 1.)    The
 Clerk docketed the appeal, which is case number 14-1505 in front
 of the Seventh Circuit. This order deals with Cephus’ request
 for reconsideration.
       2
       In his Motion for Clarification (DE #541), Cephus claims
 “in the interim past 30 days the defendant has been able to
 review certain documents and is simply awaiting the redacted
 grand jury transcripts from counsel, which the defendant will
 have within 28 days and thus the defendants initial request for a
 180 day extension is now a request for a 90 day extension.” (DE
 #541, p. 3.)

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 (DE #526, p. 2.)       Cephus claims he was “on schedule” for this

 policy until he had a recent transfer, and now has a new case

 manager and counselor which were replaced on March 15, 2014.                   Id.

       28 U.S.C. § 2255(f)(2) governs the period of time prisoners

 have to file a Section 2255 petition if their filing is somehow

 impeded by the Government.         See 28 U.S.C. § 2255(f)(2).                   It

 provides prisoners the “benefit of a full year...” after the

 alleged impediment caused by the government is removed.                    Ryan v.

 United States, 657 F.3d 604, 607 (7th Cir. 2011).               In the instant

 motions for reconsideration, Cephus claims “Government action is

 the sole of the delay” and contends that the presentence reports

 and other documents were withheld by staff, and required making an

 appointment, and that the prison was on lockdown for 7 days.                   (DE

 #530, pp. 2-3; DE #538, pp. 2-3.)             As the Court noted in United

 States v. Davis, No. 13 C 50360, 2014 WL 1047760, at *4 (N.D. Ill.

 Mar. 18, 2014) (quoting Moore v. Battaglia, 476 F.3d 504, 506-07

 (7th Cir. 2007)), “[w]hile the Seventh Circuit has not expressly

 defined what constitutes an ‘impediment’ for the purposes of

 Section 2255(f)(2), it has determined that ‘an impediment must

 prevent a prisoner from filing his petition.’”                   In this case,

 Cephus timely filed his section 2255 Petition, and after requesting

 and receiving a 60-day extension from this Court to file an

 accompanying memorandum, did indeed file a 12-page memorandum of

 law setting forth three issues in detail, and including legal


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 argument and many legal citations. (See DE #512.) Thus, the Court

 does not believe that the prison policy requiring inmates to

 schedule a time to review documents, or the fact that Cephus’ case

 manager and counselor were being replaced on March 15, 2014 (well

 after    the    deadline     for   filing     his    petition),      constitute      an

 unconstitutional impediment.          Accordingly, the Court still finds

 that 28 U.S.C. § 2255 is not applicable to Cephus.

         In   his   motions    to   reconsider,       Cephus    also    argues     that

 “equitable tolling requires satisfaction of justification for

 delay.”      (DE #530, p. 3; DE #538, p. 3.)           Equitable tolling is only

 available when a habeas petitioner can show he has been “pursuing

 his rights diligently and some extraordinary circumstance stood in

 the way of filing a petition.”                Davis, 2014 WL 1047760, at *6

 (citing Weddington v. Zatecky, 721 F.3d 456, 464 (7th Cir. 2013)).

 As the Court stated in Nolan, “[e]quitable tolling of the statute

 of limitations is such exceptional relief that we have yet to

 identify a circumstance that justifies equitable tolling in the

 collateral relief context.”          Nolan v. United States, 358 F.3d 480,

 484 (7th Cir. 2004).         Additionally, in Modrowski v. Mote, 322 F.3d

 965,     967-68    (7th     Cir.   2003),      the     Seventh     Circuit     listed

 circumstances       where    equitable       tolling    did    not    apply:       (1)

 prisoner’s lack of access to trial transcript; (2) lack of response

 from attorney; (3) language barrier; (4) lack of legal knowledge;

 (5) transfer between prisons; (6) unclear law; (7) death of


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 attorney’s father; (8) attorney negligence; and (9) attorney’s

 incapacity. Requiring prisoners to make appointments in advance to

 review paperwork, the change of a case manager and counselor, and

 an alleged 7-day lockdown, do not justify equitable tolling.                     To

 the extent Cephus requests a hearing on this matter, the request is

 also denied.



 CONCLUSION

       For the following reasons, both motions for reconsideration

 (DE ##530, 538) are DENIED.            The Motion for Clarification (DE

 #541), to the extent it requests an additional 90 days to file

 another memorandum in support of his Section 2255 Petition, is also

 DENIED.




 DATED: April 14, 2014                        /s/ RUDY LOZANO, Judge
                                              United States District Court




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